         Case: 1:24-cv-00607 Document #: 77 Filed: 04/16/24 Page 1 of 4 PageID #:736




                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

    Roadget Business Pte. Ltd.,

         Plaintiff,

    v.
                                                         No. 24 CV 607
    The Individuals, Corporations, Limited
                                                         Judge Lindsay C. Jenkins
    Liability Companies, Partnerships, and
    Unincorporated Associations Identified on
    Schedule A Hereto,

         Defendants.

                                               ORDER

       Before the Court is Defendants’ motion to modify the temporary restraining
order (“TRO”). [Dkt. 42; see id. at 1 n.1 (listing Defendants who join the motion).]
Defendants ask the Court to reduce the amount of the asset freeze from all assets in
Defendants’ Temu accounts to the amount of revenue generated by sales of the
allegedly infringing products. [See Dkt. 45 at 1–2.] In support, Defendants provide a
declaration from Temu’s senior counsel and spreadsheets documenting the amount
of revenue associated with the “Good ID” of each allegedly infringing product. [See
Dkt. 45-1, 45-2.] According to Temu’s counsel, there was a total of $421,823.40 frozen
across Defendants’ accounts as of March 10, 2024, but the revenue attributable to the
challenged products is only $176,408.50. [See Dkt. 45 at 1–2; Dkt. 45-1, 45-2.] 1
Defendants ask the Court to reduce the amount of the asset freeze accordingly. Over
Plaintiff’s objections [Dkt. 58, 71], the motion to modify the TRO is granted.

       Defendants argue that the Court can only freeze assets in furtherance of an
equitable remedy—here, an accounting of profits—not an award of actual or statutory
damages. [Id. at 2–3.] “[D]istrict courts generally do not have the authority to
preliminarily restrain assets where a plaintiff seeks a money judgment.” Deckers
Outdoor Corp. v. Schedule A, 2013 WL 12314399, at *2 (N.D. Ill. Oct. 31, 2013) (citing
Grupo Mexicano de Desarrollo v. Alliance Bond Fund, 527 U.S. 308, 331 (1999)).
“[T]here is an exception to the general ban on prejudgment asset restraint where an
equitable remedy is sought,” such as “an accounting of profits (that is, disgorgement
of profits) under 15 U.S.C. § 1117(a).” Id. (citing Grupo Mexicano, 527 U.S. at 325).
“But an accounting of profits is not automatically awarded in lieu of actual damages,
and even where equitable relief is sought, the appropriate scope of prejudgment
restraint must be limited only to what is reasonably necessary to secure the (future)


1          The amount of frozen assets appears to be rising. [Dkt. 68 at 2–3; Dkt. 68-1, 68-2.]
                                                  1
    Case: 1:24-cv-00607 Document #: 77 Filed: 04/16/24 Page 2 of 4 PageID #:737




equitable relief.” Id. (citation omitted). Because Defendants’ profits from the allegedly
infringing products are not yet known, they ask the asset freeze be reduced to the
total revenue generated from selling the challenged products. [Dkt. 45 at 3–4.] Profit
inherently cannot exceed revenue, so Defendants are correct that “a reduction of the
freeze to revenues on accused sales is more than sufficient, and would preserve all
assets arguably subject to a future equitable accounting.” [Id. at 3.]

       Plaintiff does not seem to dispute that the most it can recover in equity is the
amount by which Defendants profited from sales of infringing products or that the
Court can freeze only that amount. [See Dkt. 58 at 2–3.] Instead, Plaintiff argues that
“when disgorgement is sought and the amount of profit is unknown, … courts have
found it appropriate to freeze all assets at issue,” and that Defendants here have not
produced sufficient evidence to establish that a reduction is appropriate. [Id. (citation
omitted).] Regarding the scope of the asset freeze, the cases Plaintiff cites [see id. at
2–3] are distinguishable. In Banister v. Firestone, the defendant made no objection to
a preliminary injunction that froze his assets, nor did he try to “obtain an exception
from the asset freeze” by “present[ing] ‘documentary proof’ that the bank account at
issue did not contain any proceeds from infringing activities”; instead, he “argue[d]
generally that th[e] Court lack[ed] legal authority to restrain his bank account.” 2018
WL 4224444, at *7–9 (N.D. Ill. Sept. 5, 2018) (citations omitted). The other cases
involved ex parte asset freezes, which by definition occurred before the defendants
could appear to contest them. Chrome Cherry Ltd. v. Schedule A, 2021 WL 6752296
(N.D. Ill. Oct. 20, 2021); Deckers, 2013 WL 12314399. 2 Here, Defendants have
objected to the asset freeze at their earliest opportunity and have submitted
documentation to support their position. 3 The Court sees no reason not to consider
the question of the scope of the asset freeze. Cf. Chrome Cherry, 2021 WL 6752296,
at *2 (“The Court … finds that the requested temporary asset restraint is warranted
at this juncture. … [S]hould a defendant appear and object to the asset freeze, the
Court will revisit the issue.”); Deckers, 2013 WL 12314399, at *2 (“To the extent that
the restraint might be too broad, the defendants may file challenges to the scope of
the TRO by submitting evidence that some or all of the money has other sources.”).



2      Plaintiff states that in Deckers, the court “rejected the defendants’ request to narrow
the temporary restraining order and froze all defendant assets.” [Dkt. 58 at 2–3.] But in
Deckers, the court granted an ex parte TRO and ultimately entered default judgment because
no defendant appeared. See generally 13-cv-7621 (N.D. Ill.).
3      The Court disagrees with Plaintiff’s assertion that Defendants have “already been
heard” on the TRO because their now-counsel acted as amicus curiae and raised concerns
about entering the TRO. [See Dkt. 58 at 1.] Defendants’ identities were still under seal, so
amicus could not have raised the specific arguments Defendants now do. Besides, even if
their current arguments were entirely duplicative of their counsel’s earlier arguments as
amicus, Defendants would have a due process right to make those arguments. Cf. Cannon v.
Armstrong Containers Inc., 92 F.4th 688, 705–13 (7th Cir. 2024) (discussing when binding a
party to another’s prior litigation position is consistent with due process).
                                              2
    Case: 1:24-cv-00607 Document #: 77 Filed: 04/16/24 Page 3 of 4 PageID #:738




       Plaintiff next argues that “Defendants are not entitled to a reduction in the
asset freeze until they prove the amount of frozen assets that did not result from
infringing conduct.” [Dkt. 58 at 3 (citing cases in which courts required the defendant
to submit evidence before modifying a TRO).] Defendants have supplied evidence—
the declaration of Temu’s counsel and accompanying spreadsheets—but Plaintiff
argues that it is not sufficiently reliable. [Id. at 4.] Plaintiff states:

       The Declaration … provides some explanation as to how the Temu data
       was gathered, but without more information from the Defendants
       themselves, it raises more questions than answers. For example, the
       Declaration states that revenue was determined by reference to “Good
       ID” numbers, which are listed on the Temu data spreadsheet. However,
       there is no proof that these Good ID numbers are the only ones under
       which the Defendants sold infringing goods. It is plausible, perhaps even
       likely, that the Defendants have listed infringing products under more
       than one Good ID, or listed an infringing product under one Good ID
       only to take the listing down and relist it later under a different Good
       ID. Without more details about how this system works or documentary
       evidence from the Defendants, there is no way to adequately judge the
       reliability of the data. The Defendants tellingly produced no records of
       their own to verify revenue data, and their declarations provide no
       detailed explanation of their revenue beyond the Temu data.

[Id. (citations omitted).] Plaintiff notes that it has not had the opportunity to take
discovery regarding the reliability of the Temu data, and it raises the specter of “the
possibility of coordination between Temu and Defendants.” [Id. at 5.] 4

        The Court disagrees that the possibility that Defendants’ infringement goes
beyond the products that are the subject of Plaintiff’s Complaint and the TRO is a
reason to maintain the asset freeze. As Defendants argue, “Plaintiff defined the scope
of the accused products in its Complaint; the Good IDs about which Plaintiff now
makes much noise come directly from the URLs listed as the accused ‘Product Link(s)’
in its Complaint and were included in Temu’s data production.” [Dkt. 68 at 3 (citation
omitted).] Plaintiff has not identified additional infringing products on Defendants’
storefronts, so only these products are relevant to the asset freeze at this time.
Although to reduce the asset freeze, Defendants must show that frozen funds are not
attributable to infringement, Plaintiffs cannot rebut Defendants’ evidence by stating,
without evidence of its own, that there might be more infringement. Plaintiff received

4       Plaintiff also rightly explains that the evidence is insufficient to establish Defendants’
profits from the allegedly infringing products. [Dkt. 58 at 5.] But Defendants are not seeking
to reduce the asset freeze based on their profits [see Dkt. 68 at 3]; as the Court explained
above, reducing the asset freeze to the amount of revenue protects Plaintiff’s interest in the
funds it can recover through an equitable remedy. Therefore, the Court also does not discuss
the declarations from individual Defendants—the Court would not reduce the amount of the
asset freeze based on an untested, one-sided account of a party.
                                                3
    Case: 1:24-cv-00607 Document #: 77 Filed: 04/16/24 Page 4 of 4 PageID #:739




the TRO only after making a clear showing of infringement; the Court will not expand
its effective scope without a clear showing of additional infringement.

       Plaintiff’s concerns about possible coordination between Temu and Defendants
are well taken, but it would be too burdensome to implement Plaintiff’s proposed
solution at this stage. Plaintiff seeks to take a nontrivial amount of discovery while
the full asset freeze remains in place and continues to grow. [Dkt. 71.] Although a full
asset freeze was appropriate at the outset of the litigation, the available evidence
indicates that the asset freeze is overbroad. Defendants have proposed a reduction
that appears likely to be sufficient to protect Plaintiff’s interest in an equitable
remedy. Moreover, if Temu has provided inaccurate or knowingly false information,
Plaintiff may be able to bring claims against the platform itself. A full evidentiary
record and the complete scope of Plaintiff’s claims can be developed during discovery.
In the meantime, the Court finds that Defendants have provided sufficient evidence
that a reduction in the amount of the asset freeze is warranted, despite Plaintiff’s
concerns about the reliability of the Temu data.

                                     CONCLUSION

      For the foregoing reasons, Defendants’ motion to modify the TRO [Dkt. 42] is
granted. The asset freeze will be reduced to the total amount of revenue generated
from the allegedly infringing products as reflected in the Temu data, for a total of
$176,408.50 across the relevant Defendants. [Dkt. 45-1, 45-2, 68-1, 68-2.] By
tomorrow, April 17, 2024, the parties shall submit to the Court’s proposed order inbox
a modified TRO consistent with this Order.

Enter: 24-cv-607
Date: April 16, 2024
                                        __________________________________________
                                        Lindsay C. Jenkins
                                        United States District Judge




                                           4
